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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR07-264-RSM
 9
                                   Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   TEESHAWNDRA LENELL NELSON,                           TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.

14
            An evidentiary hearing on a petition for violation of supervised release was held before
15
     the undersigned Magistrate Judge on October 4, 2011. The United States was represented by
16
     Assistant United States Attorney Vince Lombardi, and the defendant by Jeffrey Grant.
17
            The defendant had been charged and convicted of Bank Fraud, in violation of 18 U.S.C.
18
     § 1344. On or about February 15, 2008, defendant was sentenced by the Honorable Ricardo S.
19
     Martinez, to a term of 33 months in custody, to be followed by 5 years of supervised release.
20
            The conditions of supervised release included the requirements that the defendant
21
     comply with all local, state, and federal laws, and with the standard conditions. Special
22
     conditions imposed included, but were not limited to, participation in substance abuse and
23
     mental health programs, financial disclosure, restitution, submit to search, maintain a single
24
     checking account in her name, prohibited from incurring new credit charges or new lines of
25

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:07-cr-00264-RSM           Document 302         Filed 10/04/11      Page 2 of 3




 1   credit, not obtain or possess any form of license or identification card in any other name, and

 2   cooperate with the IRS.

 3          In a Petition for Warrant or Summons, dated September 7, 2011, U.S. Probation Officer

 4   Carol A. Chavez asserted the following violations by defendant of the conditions of her

 5   supervised release:

 6              1.      Using cocaine on or about December 1, and 2, 2010, in violation of the
                        mandatory condition that the defendant refrain from any unlawful use of a
 7
                        controlled substance.
 8
                2.      Failing to report for drug testing, as directed, on October 20, November 3
 9                      and 17, 2010, January 25, 26, 27, February 15, June 9, July 25, 2011,
                        August 23, and September 6, 2011, in violation of the special condition
10                      ordering her to participate in drug testing as directed by the probation
                        officer.
11

12              3.      Failing to submit to drug testing on August 4, 2011, in violation of the
                        special condition ordering her to participate in drug testing as directed by
13                      the probation officer.

14              4.      Submitting a dilute sample for urinalysis testing on August 17, 2011, in
                        violation of the special condition ordering her to participate in drug testing
15                      as directed by the probation officer.
16              5.      Failed to participate in drug treatment on April 5, 12, 13, and 25, 2011, and
17                      May 3, 10, 11, and 23, 2011, in violation of the special condition that she
                        participate in drug treatment as directed.
18
                6.      Failure to submit a monthly written report for the months of June and July
19                      2011, in violation of the Standard Condition No. 2 ordering her to submit a
                        written report within the first five days of the month.
20

21          On September 21, 2011, defendant made her initial appearance. The defendant was

22   advised the allegations and advised of her rights. On October 4, 2011, this matter came before

23   the Court for an evidentiary hearing. Defendant admitted to violations 1, 2, 3,4, 5 and 6.

24          I therefore recommend that the Court find the defendant to have violated the terms and

25   conditions of her supervised release as to violations 1, 2, 3, 4, 5 and 6 and that the Court

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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 1   conduct a hearing limited to disposition. A disposition hearing on these violations has been set

 2   before the Honorable Ricardo S. Martinez on October 7, 2011 at 2:00 p.m.

 3          Pending a final determination by the Court, the defendant has been detained.

 4          DATED this 4th day of October, 2011.

 5

 6
                                                  A
                                                  JAMES P. DONOHUE
 7                                                United States Magistrate Judge

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 9
     cc:    District Judge:               Honorable Ricardo S. Martinez
10
            AUSA:                         Vince Lombardi
11          Defendant’s attorney:         Jeffrey Grant
            Probation officer:            Carol A. Chavez
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
